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a 1) Incremental Cold Space to Existing G Space
> Next To or In Place of Electrolit Where Sold

 

» Locations Order via West Print Shop
* StaticCling = Case Card
* Rail Strip * Pole Sign
* Push/Pull © Table Tent

* Pump Toppers Window Mesh
> Order Link:

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XUCING GATORLYTE, A NEW SPORTS DRINK SCIENTIFICALLY
‘LATED TO DELIVER RAPID REHYDRATION

 

 

 

  

RAPID REHYDRATION

 

SCIENTIFICALLY
FORMULATED

 

 

 
